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AUQ 19 2015

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND ® berry
IN THE MATTER OF THE
APPLICATION FOR A SEARCH :  caseno._L5- 16 O7SAG
WARRANT AUTHORIZING THE +O
COLLECTION OF CERTAINDNA —:
SAMPLES 15- 16 l 5SAG

AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT AUTHORIZING
THE COLLECTION OF DNA SAMPLES

Bradley Hood, a Task Foree Officer (“TFO”) with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”), being duly sworn, states:

’ INTRODUCTION / AGENT BACKGROUND

1. I am an “investigative or law enforcement officer of the United States” within the
meaning of § 2510(7) of Title 18, United States Code (U.S.C.), that is, an officer of the United
States empowered by law to conduct investigations of and to make arrests for offenses

enumerated in Title 18 U.S.C. § 922.

2. I have been assigned as a TFO with the ATF since 2014. I have been a Police
Officer with the Baltimore Police Department (“BPD”) for 7 years. Since I have been in law
enforcement, I have participated in investigations regarding firearms, including violations of
Title 18 U.S.C. § 922 and Title 18 U.S.C. § 924, and violent crime, including violations of Title
18 U.S.C. § 2119. I have participated in the recovery of illegal items to include, but not limited
to: firearms, clothing and disguises, narcotics, narcotics packaging and paraphernalia, and

financial proceeds related to criminal activity. 1 am currently assigned to a Federal Task Force

that investigates firearms, narcotics trafficking, violent crimes, and related offenses. Through

my training and experience, ] have become familiar with the manner in which firearms violations
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are committed and concealed. I also generally know that Deoxyribonucleic Acid (“DNA”) can
be found on items such as clothing and firearms and can be compared to a sample of DNA from
a known person.

3. This affidavit is being submitted in support of an application for a search warrant
to obtain samples of DNA for comparison purposes in the form of saliva and this evidence is
sought in relation to an investigation of violations of Title 2] U.S.C. § 841 (possession with the
intent to distribute controlled substances and Title 18 U.S.C. § 922 (possession of a firearm by a
person previously convicted of a felony). The saliva being sought would be seized from the
following individuals (booking photographs are attached as Exhibits 1 through 9 to this
Affidavit):

a. Sherri JORDAN, (See Exhibit 1) a female born in the year 1987, having
been assigned an FB] number ending in OLC4, and currently being held at the Baltimore City
Detention Center, located at 401 East Eager Street, Baltimore, Maryland, 21202, which is in the
District of Maryland;

b. Darren BROWN, (See Exhibit 2) a male born in the year 1990, having
been assigned an FBI number ending in 5ADO, and currently being held at the Baltimore City
Detention Center, located at 401 East Eager Street, Baltimore, Maryland, 21202, which is in the
District of Maryland;

c. Barak OLDS, (See Exhibit 3) a male born in the year 1989, having been
assigned an FBI number ending in 9LC5, and currently being held at the Baltimore City
Detention Center, located at 401 East Eager Street, Baltimore, Maryland, 21202, which is in the
District of Maryland;

d. Gerald REED, (See Exhibit 4) a male born in the year 1996 and having

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been assigned an FBI] number ending in 1HH3;

€. Tavon HOWARD a/k/a Tavon GREEN, (See Exhibit 5) a male born in
the year 1993, having been assigned an FBI number ending in 2ED4, and currently being held at
the Baltimore City Detention Center, located at 401 East Eager Street, Baltimore, Maryland,
21202, which is in the District of Maryland;

f. Daries LEGETTE a/k/a Daris LEGETTE, (See Exhibit 6) a male born in
the year 1993, having been assigned an FB] number ending in 1ED5 and currently being held at
the Baltimore City Detention Center, located at 401 East Eager Street, Baltimore, Maryland,
21202, which is in the District of Maryland;

g. Artez HARRIS, (See Exhibit 7) a male born in the year 1976 and having
been assigned an FB] number ending in 7ABS5. A booking photograph is attached as Exhibit 7 to
this Affidavit, and currently being held at the Baltimore City Detention Center, located at 401
East Eager Street, Baltimore, Maryland, 21202, which is in the District of Maryland;

h. David WARREN, (See Exhibit 8) a male born in the year 1992, having
been assigned an FBI number ending in 8NC4, and currently being held at the Baltimore City
Detention Center, located at 401 East Eager Street, Baltimore, Maryland, 21202, which is in the
District of Maryland;

1. Ricky EVANS, (See Exhibit 9} a male born in the year 1980, having been
assigned an FBI number ending in 6KB4, and currently being held at the Baltimore City
Detention Center, located at 401 East Eager Street, Baltimore, Maryland, 21202, which is in the
District of Maryland.

4, Because this affidavit is being submitted for the limited purpose of establishing

probable cause for a search warrant, I have not included every detail of every aspect of the

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investigation. Rather, I have set forth only those facts that I believe are necessary to establish
probable cause. I have not, however, excluded any information known to me that would defeat a
determination of probable cause. The information contained in this Affidavit is based upon my
personal knowledge, my review of documents and other evidence, and my conversations with
other law enforcement officers and other individuals. All conversations and statements
described in this Affidavit are related in substance and in part unless otherwise indicated.

PROBABLE CAUSE

5. _ I have probable cause to believe that, on or about July 13, 2015, Sherri JORDAN
and eight other individuals were detained by the Baltimore Police Department as part of an
armed robbery investigation. Detectives obtained a search warrant for 2312 East Monument
Street, the location of Safe Streets, a community based anti-violence program, and recovered
multiple firearms, suspected heroin, paraphernalia used for the distribution of heroin and crack
cocaine, cellular phones, and various other items. The collection of DNA from JORDAN,
BROWN, OLDS, REED, HOWARD a/k/a GREEN, LEGETTE, HARRIS, WARREN, and
EVANS (collectively hereinafter the SUBJECT INDIVIDUALS) is necessary for the
comparison of DNA recovered from the firearms to determine further ownership. Two of the
handguns recovered were stolen. One of the handguns had been used in a non-fatal shooting the
day before recovery; as well as, two other acts of violence.

6. On July 13, 2015, at approximately 2:45 a.m., a BPD officer observed a gray
Infinity SUV bearing Maryland Registration 1B Y5844 parked and unoccupied in front of 2312
East Monument Street. Said vehicle was noteworthy because minutes earlier the description of a
similar vehicle had been broadcasted over the police radio. Specifically the suspect vehicle had

been used in an armed robbery that had occurred nearby. Approximately one minute later, three

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individuals started to exit the front door of 2312 East Monument Street. The individuals looked
directly at the officer and then quickly shut the door and ran back inside of the location and up
the interior stairs of the building to the second floor.

7. The second floor of 2312 East Monument Street is an office utilized by a
Baltimore City funded non-profit program referred to as “S.A.F.E. Streets.” The officer knew
from working in the area that the office is not open/operated 24 hours/day. The officer then saw
through the second floor windows multiple individuals peeking through the window blinds, and
saw them running frantically back and forth in the office space. The officer called for other
officers to assist in securing the location and further investigation.

8. The backup officers arrived and opened the front exterior door. The officers
announced themselves as police and ordered individuals inside to come out of the building.
Ricky EVANS, Sherri JORDAN, Barak OLDS, and Darren BROWN complied and exited the
building. EVANS identified himself as an employee of S.A.F.E. Streets and was wearing an
identification card. EVANS initially told the officers that no other individuals were inside. A few
minutes later further investigation led to Daries LEGETTE, Gerald REED, Tavon HOWARD,
Artez HARRIS, and David WARREN walking down from the 8.A.F.E. Streets Office and
presenting themselves to police.

9, The victim from the armed robbery at 900 East Monument Street was transported
to 2312 East Monument Street where he identified Barak OLDS and Darren BROWN as the
individuals who had robbed him at gunpoint. The victim also stated that the Infinity SUV was
the vehicle used in the robbery. The Infinity SUV is registered with the Maryland Motor Vehicle
Administration (MVA) to Towanda Eason-EVANS who identified herself as the wife of Ricky

EVANS.

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10. The officers believed that other individuals may still have been inside of the
location. A BPD K-9 handler arrived and assisted in searching the building for individuals who
may have continued to hide inside the building. The K-9 has been certified in the detection of
explosives and firearms. While clearing the building the K-9 gave indications of a positive alert
to a large cabinet in the S.A.F.E. Streets Office. The cabinet was cleared and Officers observed a

Taurus .357 caliber revolver, Serial # NC922803, loaded with six live rounds; and a .25 caliber

Beretta handgun, Serial # BT69921V, loaded with one live round in the chamber and two live
rounds inside of the magazine. They also observed (4) black extended magazines containing (28)
9 mm live rounds, and (2) .40 caliber live rounds. Police Officers recovered the handguns and
continued to clear the building. No other individuals were found inside the location.

11. The location was then secured pending the issuance of a search warrant and all of
the above mentioned individuals were detained and transported to the Eastern District. They

were then transported to the BPD Homicide offices and interviewed by Homicide Detectives.

12. A search and seizure warrant was signed by a Judge of the District Court of
Maryland for Baltimore City for 2312 East Monument Street Baltimore, Maryland. At
approximately 5:00 p.m. the search warrant was executed.

13. A search of the location was conducted and the following items were seized: (1)
tan plastic bag containing box of .40 caliber cartridges; (1) black book bag containing tan bag
with sifters, quick capper, cutting agents (items used to prepare heroin for street level
distribution); (1) navy/blue book bag containing gelatin capsules (packaging materials used to

package heroin for street level distribution); (1) clear plastic bag containing (5) plastic bags with

white powdery substance cutting agent; (2) tied bags with tan powder substance of
approximately 10 grams of suspected heroin; (1) small tied plastic bag cutting agent; (1)

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prescription bottle containing white powder cutting agent; (3) scales with residue suspected
heroin; plastic bag containing empty gelatin capsules (packaging materials); black, blue and red
back pack containing cutting agents and blender with residue suspected heroin; (1) plastic bag
with residue suspected heroin; mail in the name of David Fitzgerald; documents; photos; gun oil;
empty box of .40 caliber ammunition; black bowl containing (5) bags of gelatin capsules
packaging materials; black taser; poster/maps; (450) gelatine capsules containing a tan powder
substance of suspected heroin; (1) orange paper containing a white substance of suspected
cocaine; (1) small clear bag containing a white rock substance of suspected cocaine; (1) small
clear bag containing a green plant substance of suspected marijuana; (2) Clear ziplock bag
containing small! pink (empty) ziplock bags used for packaging crack cocaine.

14. The following cellular phones were seized from the location: (1) white iPhone
Model AI532 FCC ID: BCG-E2644A; IMEI: 013788006617059; (1) Black ZTE cellular phone
Model ZTEN9130; FCC ID: SRQ-ZTEN9130; MEIC DEC: 256 691534 809 733 681. The
following handguns and live ammunition were recovered from the office space “drop-style”
ceiling of the office space: (1) Beretta 9mm Model 92F, Serial # D57238Z, semi-automatic
handgun containing (1) live 9mm round in the chamber and (12) live Luger 9mm rounds in the
magazine; (1) Smith and Wesson 9mm semi-Automatic handgun, Serial # SAA4786 loaded with
(1} live 9mm Luger round in the chamber, and (13) in the magazine; (1) Smith and Wesson
9mm, Serial # SAA4786, semi-automatic handgun loaded with (1) live 9mm Luger round in the
chamber and (13) live 9mm rounds in the magazine; (1) Taurus PT99 9mm, Serial #
TMJ19903D, semi-automatic handgun loaded with (1) live 9mm round in the chamber and (14)
live 9mm rounds in the magazine; (1} Ruger Model P9SDC semi-Automatic handgun, Serial #
313-79693, loaded with (1) live 9mm round in the chamber, and (26) live 9mm rounds inside of

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an extended magazine; (1) Springfield Armory 9mm semi-Automatic handgun, Serial #
US974710. The above evidence was submitted to BPD’s Evidence Control Unit by the BPD.

15. A stolen records review revealed that the 9mm Smith and Wesson handgun
serial# SAA4783 was stolen from Georgia Peach County on October 4, 2013. The 9mm Ruger
handgun serial# 31379693 was stolen from Baltimore City during a burglary at 2210 Aiken

Street on July 25, 2014. A BPD Firearms Examiner determined that the Ruger semi-automatic

handgun had been used in a non-fatal shooting on July 12, 2015, the day prior to its recovery, at
2300 Aiken Street. Examination also revealed that the handgun had been used in a July 2, 2015
non-fatal shooting and another incident on April 26, 2015. The firearms and other items were
submitted for latent print analysis and to be swabbed for DNA by the BPD Crime Labratory.

REQUEST FOR A SEARCH WARRANT

16. Given the facts set forth above, I believe that some or all of the SUBJECT

INDIVIDUALS have committed violations of Title 21 U.S.C. § 841 (possession with the intent

to distribute controlled substances and Title 18 U.S.C. § 922 (possession of a firearm by a person
previously convicted of a felony. As such, J respectfully request that this Court find probable
cause that evidence of the aforementioned criminal violations is contained in the form of DNA in
saliva of the SUBJECT INDIVIDUALS identified above, who are present in the District of
Maryland, so that the DNA sample may be compared to evidence collected during the course of
this investigation and mentioned above.

WHEREFORE, | respectively request that the Court issue a warrant authorizing members

of the ATF, or their authorized representatives, including but not limited to other law

enforcement agents assisting in the above-described investigation, to obtain DNA samples from

the above SUBJECT INDIVIDUALS.
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Bradley Hood, Task Force Officer
Bureau of Alcohol, Tobacco, Firearms and Explosives

Sworn to before me this SW hay of August, 2015

Stephanie A. Gallagher a. oe
United States Magistrate Judge «

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Exhibit 1

Sherri JORDAN

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Exhibit 2

Darren BROWN

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Exhibit 3

Barak OLDS

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Exhibit 4

Gerald REED

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Exhibit §

Taveon HOWARD a/k/a Tavon GREEN

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Exhibit 6

Daries LEGETTE a/k/a Daris LEGETTE

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Exhibit 7

Artez HARRIS

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Exhibit 8

David WARREN

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Exhibit 9

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